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10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) CASE NO. 20-CR-00249 RS
14                                                    )
             Plaintiff,                               )
15                                                    ) STIPULATION AND ORDER
        v.                                            ) CONTINUING STATUS CONFERENCE
16                                                    )
     ROWLAND MARCUS ANDRADE,                          )
17                                                    )
             Defendant.                               )
18                                                    )

19

20           This matter is currently set for a status conference on May 11, 2021, at 2:30pm. Since the
21 parties’ last report to the Court, the government has continued producing a large volume of discovery.

22 The most recent production, including voluminous search warrant returns, was produced via physical

23 media on May 5, 2021. The defense team is currently reviewing those materials. The government is

24 currently processing and preparing its next production of documents.

25           The discovery in the case is voluminous, and the parties request an approximate 60-day
26 continuance in order to provide the defense with the opportunity to continue to review these discovery

27 materials, and for the government to continue producing documents. The parties will also take these

28 sixty days to explore whether this matter can be resolved via an agreement. The parties also request that

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 1 the Court exclude time from the Speedy Trial Act deadlines on the basis that the proposed continuance

 2 will allow for the effective preparation of counsel. The parties agree that the ends of justice served by

 3 this continuance outweigh the best interest of the public and the defendant in a speedy trial. The parties

 4 further agree that the failure to grant this continuance would unreasonably deny counsel for defendant

 5 the reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 Accordingly, the parties agree that the period from May 11, 2021 through July 13, 2021, or the date of

 7 the continued Status Conference, should be excluded in accordance with the provisions of the Speedy

 8 Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), for effective preparation of defense counsel, taking

 9 into account the exercise of due diligence.

10          IT IS SO STIPULATED.

11 DATED: May 7, 2021                                            Respectfully submitted,

12                                                               STEPHANIE M. HINDS
                                                                 Acting United States Attorney
13
                                                                        /s/
14                                                               ANDREW F. DAWSON
                                                                 Assistant United States Attorney
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16                                                               ZUBER LAWLER & DEL DUCA LLP

17                                                                      /s/
                                                                 BRIAN J. BECK
18                                                               Attorney for Defendant

19

20                                                   ORDER

21          For the reasons stated in the stipulation of the parties above, and for good cause shown, the Court

22 hereby orders that the Status Conference currently set for May 11, 2021 is vacated and reset for July 13,

23 2021, at 2:30 p.m. It is further ordered that time is excluded, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

24 (B)(iv) through July 13, 2021.

25

26 DATED: May 7, 2021
                                                         HONORABLE RICHARD SEEBORG
27                                                       Chief United States District Judge

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